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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION


    DONALD J. TRUMP,

                                         Plaintiff No. 9:22-cv-81294-AMC

             V.
                                                       Dated: October 26, 2022
    UNITED STATES OF AMERICA,

                                                       JURY TRIAL DEMANDED
                                       Defendant
                                                         not highlighted
                    MOVANT-INTERVENOR (PRO SE)-RAJ K. PATEL'S
                           FOURTH AMENDED DKT. 87

          I, T.E., T.E RAJK. PATEL, the undersigned movant-intervenor prose, in the above-

   named case, with a pending motion at Dkt. 36, hereby submit this fourth amended reply

   to Defendant-United States of America's Response at Dkt. 48, which is written to be an

   addition to Dkt. 60 (duplicate filing at Dkt. 61), or as my response to Defendant's Motion

   at Dkt. 69. L.R. 7. l(c)(2) (10 pages, front and back). Amendments. Second Amendments.

   Third Amendments. Fourth Amendments .

          WHEREAS, "Attorney General Brewster explained more than a century ago, ' [t ]here

   are two kinds of official terms' ... One kind of 'term' refers to a period of personal service.

   In that case, 'the term is appurtenant to the person' ... Another kind of 'term' refers to

   a fixed slot of time to which individual appointees are assigned .. .There, 'the person is ap-

   purtenant to the term' .. .In other words, a ' term of office' can either run with the person

   or with the calendar," United States v. Wilson, 290 F.3d 347, 353 (D.C. Cir. 2002) (quoting




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   Comm 'rs of the Dist. of Columbia, 17 Op. Att'y Gen. 476, 476-79 (1882)); Hollingsworth v.

   Perry, 570 U.S. 693, 723, 133 S. Ct. 2652, 2672 (2013); and,

          WHEREAS,   the Presidential Records Act, 44 U.S.C. §§ 2201-2209, makes the former

  President a part of the Executive Branch, and more specifically the Presidency, Wilson,

  290 F.3d at 353 & Federalist 78; and,

          WHEREAS,   executive privilege "safeguards the public interest in candid, confiden-

   tial deliberations within the Executive Branch; it is 'fundamental to the operation of Gov-

  ernment,"' Trump v. Mazars U.S., LLP, 140 S. Ct. 2019, 2032 (U.S. 2020); and,

          WHEREAS,   all Presidential data "(is] presumptively privileged," Nixon v. Sirica, 487

  F.2d 700, 716 (D.C. Cir. 1973); and,

          WHEREAS,    "information subject to executive privilege deserves 'the greatest pro-

   tection consistent with the fair administration of justice,"' Mazars, 140 S. Ct. at 2024 (quot-

   ing United States v. Nixon, 418 U.S. 683, 715 (1974)); and,

          WHEREAS,    "(t]he high respect that is owed to the office of the Chief Executive .. .is

   a matter that should inform the conduct of the entire proceeding," Clinton v. Jones, 520

   U.S. 681, 705, 117 S.Ct. 1636, 1650-51 (1997), and that there is a tradition of federal courts'

   affording "the utmost deference to Presidential responsibilities Clinton, 117 S. Ct. at

   1652," In re Lindsey, 158 F.3d 1263, 1280 (D.C. Cir. 1998) ((quoting Nixon, 418 U.S. at 710-

   11) (internal quotation marks omitted)); and,

          WHEREAS,    "[t]he authority to protect national security information falls on the

   President," Dep't of the Navy v. Egan, 484 U.S. 518,527 (1988), see also, e.g., Murphy v. Sec'y,

   U.S. Dep't of Army, 769 Fed. Appx. 779, 792 (11th Cir. 2019), & Dkt. 69 at 13; and,




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          WHEREAS,    for purposes of Presidential Records Act, the incumbent President who

  transitions to former PresidentTis an "agent" of the people, Egan, 484 U.S. at 529, Feder-

  alist 78, & Dkt. 69 at 18; and,

          WHEREAS,     the Supreme Court has emphasized that privilege claims, "must be con-

  sidered in light of our historic commitment to the rule of law" and "[t]he need to develop

  all relevant facts in the adversary system," Nixon, 418 U.S. at 708-09 & Dkt. 69 at 9; and,

          WHEREAS,     "[i]n the performance of assigned constitutional duties, [Executive

  branch] of the Government must initially interpret the Constitution, and ... The Presi-

  dent's counsel, as we have noted, reads the Constitution as providing an absolute privi-

  lege of confidentiality for all Presidential communications," Nixon, 418 U.S. at 703-4, 28

  U.S.C. § 516, Vargas v. United States, 114 Fed.Cl. 226, 236 (2014) ("The government's

   reliance on 28 U.S.C. § 516 is misplaced."); &seegenerallyDavidA. Strauss, "Presidential

  Interpretation of the Constitution," 15 Cardozo L. Rev. 113, 113-135 (1993)1; and,

          WHEREAS,     in other words, "executive branch must interpret the Constitution be-

  fore it can decide what to do," see generally Strauss, 15 Cardozo L. Rev. at 113-135; and,

          WHEREAS,    the Supreme Court has "reject[ed] the argument that only an incumbent

  President may assert" separation-of-powers claims, Nixon v. Adm'r of Gen. Servs., 433 U.S.

  425, 439 (1977); and,

          WHEREAS,     there is an internal, horizontal and vertical, separation of powers on in-

   terpreting the Constitution within the Executive Branch; and,




         l. David A. Strauss, "Presidential Interpretation of the Constitution," 15 Cardozo L. Rev. 113, 113-
  135 (1993), https: // chicagounbound.uchicago.edu / cgi / viewcon tent.cgi?referer=&httpsredir=l&arti-
  cle=3006&context=journal articles;Presidential .


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         WHEREAS,   privilege and immunities may be used to sustain separation of powers

  inside branches of government and across governments under the United States Consti-

  tution; and,

         WHEREAS,   the United States Department of State is responsible for interpreting and

  elaborating on the Privileges and Immunities Clause, U.S. const. art. IV, § 2;

         WHEREAS,   the United States Department of State shows its elaboration on the Priv-

  ileges and Immunities Clause in the United States Order of Precedence by the Office of

  the Chief of Protocol, https:// www .state.gov/ wp-content / uploads/ 2022 / 02 / United-

  States-Order-of-Precedence-February-2022.pdf (revised Feb. 11, 2022) & U.S. const. art.

  IV, § 2; and,

         WHEREAS,   the United States Department of Justice, the Attorney General, or U.S.

  Attorney Juan Gonzales, did not follow the United States Order of Precedence duly es-

  tablished by the Office of the Chief of Protocol, Id.; and,

         WHEREAS,   the incumbent President of the United States has supported the United

  States Order of Precedence housed by the United States Department of State Office of the

  Chief of Protocol, which shows that former President Trump outranks incumbent Attor-

  ney General Merrick Garland, Id. & 3 U.S.C. §§ 301 et seq., and Hollingsworth, 133 S. Ct.

  at 2673-74 (proponents "are not elected" and "decide for themselves, with no review,


  what arguments to make and how to make them" in defense of the enacted initiative, ...


  those same charges could be leveled with equal if not greater force at the special pros-


  ecutors just discussed") ; and,




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           WHEREAS,     thus, the United States Department of State and the United States De-

  partment of Justice are adversaries in our system of rule of law, in order to create a sepa-

  ration of powers and checks and balance, but cf Doctrine of Comity, U.S. const. art. IV,§

  2, & 28 U.S.C. § 516; and,

           WHEREAS,     the incumbent President of the United States has not cleared, nor may

  ratify unconstitutional acts to make them constitutional,2 breach of protocol; and,

           WHEREAS,    the executive Departments and its Heads have been created, by an Act

  of Congress, and appointed by the President, with advice and consent from the Senate,

  Freytag v. Comm 'r, 501 U.S. 868, 886, 917 (1991) (discussing Heads and principal officers

  of the executive departments); and,

           WHEREAS,    the Executive Branch's "interpretation of its [own] powers .. .is due great

  respect from the others," Nixon, 418 U.S. at 703-4; and,

           WHEREAS, former Presidents retain "actual authority" to bind the Government of


  the United States to contractual obligations necessary to carry out the duties of their


  unique legal offices, including in Congress' United States Court of Federal Claims, The

  Tucker Act, 28 U.S.C. §§ 1346(a) &1491, Schism v. United States, 316 F.3d 1259, 1304-




            2. Under the common law, the incumbent King may change protocol at-will against a former Head
  of State or a preceding Monarch; those vested powers are embedded in the United States Constitution and
  remain constant until lawfully amended. Besides, as the complaint and Attorney General's Merrick Gar-
  land's public, apolitical, and legal comments show, currently, only a unit of an Executive branch has acted,
  i.e. the Department of Justice-F.B.I., rather than the Executive branch as whole. 0kt. 1 at 10. To no surprise,
  even against a former president, in order to legally condition the peaceful transition of power, the Executive
  power is much weaker than of a common law King's. United S tates v. Providence Journal Co., 485 U.S. 693,
  701 (1988) (more than one "United States" is "startling"). Ma ine Cmty. Health Options v. United States,
  140 S. Ct. 1308, 1334 (Alito, J., dissenting) (internal citations omitted) (" federal common law" has unique
  interests).


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  06 (Fed. Cir. 2002), see supra, p. 15 n. 5, and but cf. Hollingsworth, 133 S. Ct. at 2667;

  and,

         WHEREAS,   "[all] powers of law enforcement ... are assigned under our Constitution

  to the Executive and the Judiciary," Quinn v. United States, 349 U.S. 155, 161 (1955).

         THEREFORE,   only a unit of the Executive Branch, the current Attorney General, has

  brought charges against former President Trump in violation of the inter-workings of the

  executive branch protocol, ordered by the incumbent President Biden, as housed by Pres-

  ident Biden's subordinates, who are also either the Attorney General's superiors or co-

  equals on the subject-matter, in the United States Department of State.

         FURTHERMORE,    the President, the courts, or the Executive Branch cannot mute dis-

  tinctions of office, person, state, and government, as they are an elaboration of the United

  States Constitution Privileges and Immunities Clause, which lays out the structure and

  lanes of enforcement. Poindexter v. Greenhaw, 114 U.S. 270, 290 (1884) ("the distinction

  between the government of a State and the State itself is important, and [shall) be ob-

  served.") (underline added). In re Quarles & Butler, 158 U.S. 532, 536-37 (1895) (internal

  citations omitted) & United States v. Harris, 106 U.S. 629, 638 & 643-44 (1883). Federalist

  80 ("The power of determining .. .dissensions and private wars which distracted and des-

  olated Germany prior to the institution of the Imperial Chamber by Maximilian , towards

  the close of the fifteenth century; and informs us, at the same time, of the vast influence

  of that institution in appeasing the disorders and establishing the tranquill ity of the em-

  pire. This was a court invested with authority to decide finally all differences among the

  members of the Germanic body ... It may be esteemed the basis of the Union.").


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         WHEREAS, in order for a federal district court of law to have personal jurisdiction,

  under Fed. R. Civ. 12(b )(2), traditional notions of "natural justice," "fair play," and "sub-

  stantial justice" must at all time not be violated, McDonald v. Mabee, 243 U.S. 90, 92 (1917),

  Joint Anti-Fascist Comm. v. McGrath, 341 U.S. 123, 123 (1951), Breithaupt v. Abram, 352 U.S.

  432, 435 (1957) (shock the conscience, traditional notions of fair play and decency, indicia

  of not a peaceful transition of power caused by Defendant-DO} is a violation of the con-

  science), Gonzales v. United States, 348 U.S. 407, 412 (1955) ("underlying concepts of pro-

  cedural regularity and basic fair play"), Int'l Shoe Co. v. Washington, 326 U.S. 310, 324 &

  326 (1945), United States v. Lovasco, 431 U.S. 783, 796 (1977) (due process embodies "fun-

  damental conceptions of justice" and "the community's sense of fair play and decency")

  (see Federalist 77, United States as a community), Cnty. of Sacramento v. Lewis, 523 U.S.

  833, 847 (1998) (conscience-shocking behavior is "so 'brutal' and 'offensive' that it [does]

  not comport with traditional ideas of fair play and decency.") (abuse of executive power)

  (decencies of "civilized conduct," epitomized in U.S. const. art. IV, § 2) (bowing and

  curtsy amongst and to state actors or the effect in our community), & Sessions v. Dimaya,

  138 S. Ct. 1204, 1212 (2018) (required by both "ordinary notions of fair play and the settled

  rules of law."); and,

         WHEREAS, traditional notions of natural justice states a former T.H. (T.E.) President

  of the United States (T.E. President of the United States for all documents foreign affairs),

  from the Natural State, is more fit than the current court (judge and Defendant) and the

  Natural Order demands that the incumbent Attorney General yield to pressing charges

  against Plaintiff, our former Head of State, see United States Order of Precedence-United

  States Dep't of State-Office of the Chief of Protocol, U.S. const. art. IV,§ 2, & Dkt. 60 at 2,

  5, 5 n. 3, & 7; and,




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         WHEREAS, traditional notions of basic fair play and substantial justice have been

  violated, see e.g. Obergefell v. Hodges, 576 U.S. 644, 742 (2015) (harsh treatment is not fair

  play) (gays and lesbians have been denied the Natural Order, pursuant to their achieve-

  ments in civil society, as the wealthiest community, particularly, gay men, in the United

  States; the same illness has entered state and governmental institutions, preventing the

  Natural Order, including in governing the Defendant's decisions) (Plaintiff has been de-

  nied rightful place in the aftermath of his honor's incumbency as President of United

  States)3 & Pet. for Writ of Cert.* 58-9, Patel v. United States, No. 22-5280 (U.S. 202_); and,

         WHEREAS, even with explicit informed consent the Plaintiff cannot avail himself

  before this court because his availment cannot overcome the violation traditional notions

  of fair play, natural justice, and substantial justice as applied to the court and any possible

  ruling by this court, U.S. const. art. IV,§ 2 & see also United States Order of Precedence-

  United States Dep't of State-Office of the Chief of Protocol; and,

         WHEREAS, this court cannot attach personal jurisdiction to the Plaintiff as it would

  violate the traditional notions of fair play, natural justice, and substantial justice, and,

  thus, its opinion would only be advisory; and,

         WHEREAS, in addition, the corollary to Plaintiff's former Presidential privilege, im-

  munity, is the court's limited judicial review, Federalist 78, U.S. const. art. IV,§ 2, art. III

  (original intent), & amend. V. Marbury v. Madison, 5 U.S. 137 (1803).

         THEREFORE,    this Court should dismiss sua sponte under Fed. R. Civ. P. 12(b)(2), as

  the Court does not have personal jurisdiction for Plaintiff, or Fed. R. Civ. P. 12(b)(6), for

  failure to state a claim upon which relief can be granted, as there is no enforcement mech-

  anism to require the Plaintiff, the former Head of State and former President, who is also



         3. https: / / hrc-prod-requests.s3-us-west-2.amazonaws.com / Wage-Gap-Appendix.pdf.


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  Privileged, per the Natural State, and is Immune, per the Natural State too; the deficien-

  cies can only be cured by new charges brought directly by the incumbent President, by

  his own counselor, rather than the incumbent Attorney General.

         FURTHERMORE,      the notions of natural justice, fair play, and substantial justice but-

  tress castle doctrine, as generally applied, and Plaintiff's castle can uniquely, along with

  the past Presidents, can withstand all forces except those directly and constitutionally

  commanded by the incumbent President, e.g. United States Secret Service or United States

  Armed and Space Force. See Dkt. 60 at 2, 5, 5 n. 3, & 7. This is also because due process

  cannot override a Privilege or Immun ity, and substantive due process is considerate of

  Privileges and Immunities, per the Federalist and Anti-Federalist contract of the Bill of

  Rights, and the interest of the Founders and Amenders to preserve the culture of our

  Nation . U.S. const. art. IV,§ 2 & amend . XIV,§ 2, cl. 1; Lovasco, 431 U.S. at 796; Feder-

  alist 80 ("It may be esteemed the basis of the Union , that "the citizens of each State shall

  be entitled to all the privileges and immunities of citizens of the several States." And if

  it be a just principle that every government OUGHT TO POSSESS THE MEANS OF EX-

  ECUTING ITS OWN PROVISIONS BY ITS OWN AUTHORITY."); Pet. for Writ of Cert.*

  58-9, Patel v. United States, No. 22-5280 (U.S. 202J; & compare U.S. const. art. IV, §§

  1-27 with U.S. con st. art. VI, § 1 referring to Articles of Confederation (1781 ), art. IV, paras.

  1 & 3 ("The better to secure and perpetuate mutual friendship and intercourse among

  the people of the different States in this Union [i .e., Doctrine of Comity in U.S. const. art.

  IV, § 2], the free inhabitants of each of these States, paupers, vagabonds, and fugitives




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   from justice excepted, shall be entitled to all privileges and immunities of free citizens in

   the several States; ... provided also that no imposition, duties or restriction shall be laid

   by any State, on the property of the United States, or either of them ."// "Full faith and

   credit shall be given in each of these States to the records, acts, and judicial proceedings

   of the courts and magistrates of every other State.") (("magistrates" replaced with "citi-

   zen") (see Dkt. 21 at 13) (see a/so Pate/ v. United States, No . 1 :21-cv-02004-LAS (Fed .

   Cl. 202_J, Dkt. 1 at 9-10 n. 6)) .

           UNDER FED. R. C1v. P. 24, I have a common question of law or fact or interest in the

   transaction because a favorable ruling to the Defendant can violate my Excellencies, the

   style/titles, and my career and statesmanship by extension of this ruling amongst li-

   censed Governmental actors, local, state, federal, and international, who might sympa-

   thize with this Court's unconstitutionality.

           WHEREAS,     the Supreme Court has held that a former President may not success-

   fully assert executive privilege against review by "the very Executive Branch in whose

   name the privilege is invoked," N ixon, 433 U.S. at 447-48 & Dkt 69 at 8; 4 and,

           WHEREAS,     executive Privilege and executive Immunity are corollaries, but distinct

   concepts, U.S. const. art. IV, § 2 & amend. XIV, § 1, cl. 2; and,

           WHEREAS,     asserting one necessarily imputes the assertion of the other, Id.; and,




           4. An F.B.I. cannot claim executive Privilege against the incumbent Attorney General, but a former
   President can claim executive Privilege (i.e. Presidential Privilege) against the incumbent Attorney General.
   Respectively, the independent concept of executive Immunity applies, which favors the former President
   against the incumbent Attorney General.


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          WHEREAS,   former United States President Trump may assert executive Immunity

   from United States Governmental force which is not under the command of the incum-

   bent United States President, Id.; and,

          WHEREAS,   in the happenings related to Nixon, 433 U.S. at 425, incumbent President

   Gerald Ford was intimately involved in prosecuting former President Nixon, Id. & cf Dkt.

   1 at 10; and,

          WHEREAS,   here, as unlike in the happenings related to Nixon, 433 U.S. at 425, the

   incumbent President is not intimately involved against the prosecution of President

   Biden, PHH Corp. v. Consumer Financial Protection Bureau, 839 F.3d 1, 12-13 (D.C. Cir. 2016)

   (Madisonian presidential control), see Morgan v. United States, 304 U.S. 1, 22 (1938) (hold-

   ing that it is "not the function of the court to probe the mental processes of the [Execu-

   tive]"), and Dkt. 1 at 10; and,

          WHEREAS,    here, the topics of documents are related to foreign policy, unlike in

   Nixon, 433 U.S. at 425, where, the documents were related to domestic policy; and,

          WHEREAS,   more specifically and materially, a former President/Head of State out-

   ranks the incumbent Attorney General in foreign relations and diplomatic matter, which

   are exclusively reserved for the President's recognition, see generally Providence Journal,

   485 U.S. at 701 (more than one "United States" is "startling"); and,

          WHEREAS,    the incumbent President, the United States Order of Precedence duly

   established by the Office of the Chief of Protocol, and the Presidential Records Act show

   that the former presidents carry on official duties, which come with omnipresent privi-

   leges and immunities, which are absolute except at against an incumbent President,

   Nixon, 418 U.S. at 703-4 & Scheuer v. Rhodes, 416 U.S. 232,239,241,244, & 248, (1974); and,




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          WHEREAS, the Constitutional power of executive Privilege and/ or executive Im-

   munity of a former President, thus, may be lawfully asserted against the incumbent De-

   partment of Justice, U.S. const. art. IV, § 2 & amend. XIV, § 1, cl. 2, Murray v. Bush, No.

   06-C-0781 * 1 (E.D. Wis. Aug. 31, 2006) ("whether the action is frivolous or malicious, or

   seeks relieffrom an immune party, or fails to state a claim on which relief may be granted.")

   (italics added) (internal citations omitted); cf 28 U.S.C. § 1915(e)(2)(B)(iii); Williams v.

   Holmes, No. 1:17-cv-00799-KOB * 1 (N.D. Ala. Sep. 5, 2017); Malcolm v. City of Miami, No.

   22-cv-20499-KING/DAMIAN * 2, 4, & 6 (S.D. Fla. Mar. 7, 2022); & Lister v. Dep't of Treas-

   ury, 408 F.3d 1309 (10th Cir. 2005); and,

          WHEREAS, the Plaintiff can lawfully possess the disputed United States records, 44

   U.S.C. § 2202; and,

          WHEREAS, the Fed. R. Civ. P. 8(c)(l) allow for the affirmative defenses of illegality

   (Defendant's play in obtaining Presidential Records), license (U.S. const. art. IV, § 2),

   laches (Defendant should have acted quicker if truly su spicious of national security), or

   unclean hands (Defendant should have involved the incumbent President of the United

   States); and,

          WHEREAS, this Court is in Comity with both Plaintiff and Defendant, and has the

   privilege of serving each party in his/her/ their individual capacity, Doctrine of Comity,

   U.S. const. art. IV, § 2.

          THEREFORE,     the Plaintiff is immune from prosecution from the Defendant, and the

   Court should return all records to plaintiff, President Trump, and order charges against

   The Honorable Garland for conversion, "treason"/ "war"/" attack," and rebellion or in-

   surrection. U.S. const. art. III,§ 3; 18 U.S.C. § 2381; & Providence Journal, 485 U.S. at 701.

          FURTHERMORE,         under the Constitutional fiction, which starts, at a minimum, with

   the corporate charters mentioned in the Declaration of Independence (1776), the local,


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  excellent corporations and other local authorities have devolved power to the Federal

  Sovereign, much more than the Sister States have to the Federal Sovereign; thus, the in-

  terest in the transaction is a check on the Devolved Sovereignty, Faithfully ordered by

  me, the intervenor, and as a taxpayer. U.S. canst. art. IV, §§ 1-2 & art. VI, § 1; Federalist

   78; & 42 U.S.C. §§ 2000bb et seq. See also White House Office of Intergovernmental Affairs,

  https://www.whitehouse.gov/ iga / .

          WHEREAS, barring subordinate Executive Branch from reviewing and using the

   classified records for criminal investigates purposes is a meaningful way of protecting

   "the confidentiality of Presidential communications," Nixon, 418 U.S. at 705 & contra. Dkt.

   69 at 10; and,

          WHEREAS, the reasons Presidents or the courts allow independent personnel across

   the Intelligence Community to review the very same records for other closely related

   purposes but not the remainder of the Executive Branch do not have to be revealed in

   order to protect the confidentiality of Presidential Records, Nixon, 418 U.S. at 705; and,

          WHEREAS, technocrats are the personnel across the Intelligence Community who

   usually receive these records and whose narrow objectives are precisely codified, unlike

   in the not-independent Executive Branch were partisans, party members, former mem-

   bers of Congress, and bureaucrats who are accountable to varying interests, such as for-

   eign Heads of State and inter-governmental organizations and those hierarchies, are

   likely to receive and be exposed these records; and,

          WHEREAS, an affirmance of the default protectionist rule of Presidential Records

   will allow the Republic to remain One and intact, Nixon, 418 U.S. at 705, Providence Journal,

   485 U.S. at 701, Nixon, 433 U.S. at 447-9, & Hein v. Freedom From Religion Found., Inc., 551




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  U.S. 587 (2007) (Rather, they were "created entirely within the executive branch ... by Pres-

  idential executive order." (quoting Freedom From Religion Found., Inc. v. Chao, 433 F. 3d

  989, 997 (7th Cir. 2006)); and,

          WHEREAS,   the Department of Justice is not an independent agency of the Executive

  Branch; and,

          WHEREAS,   here, the "trial" is of a former President, which was not initiated by the

  incumbent President; and,

          WHEREAS,   the enforcement of Nixon, 418 U.S. at 705 is different due to the advance-

   ment of technology; and,

          THEREFORE,   preventing the United States Department of Justice from gaining ac-

   cess to the material Presidential Records is lawful, as well as the appointment of the spe-

   cial master, but the Presidential Records are properly returned to President Trump at the

   earliest convenience; if not, at least a copy of all records, as the Plaintiff maintains his

   presumption of correctness until proven otherwise.

          FURTHERMORE,    this transaction could extent to local governments, a set of Devolv-

   ers of Sovereignty, and interfere with local jurisdictions' record keeping practices and the

   privileges and immunities of their agents, including when those jurisdictions were de-

   marcated in another state.

          WHEREAS,   Dkt. 69 at 10-11 equivocates about the Executive Branch-generally with

   the more specific terminologies of executive Privileges and/ or Immunities applied to the

   Executive Branch-incumbent-President and Executive Branch-former-President; and,

          WHEREAS,   Defendant is unpersuasively arguing, that in addition to its trespass to

   a former President's castle, its Governmental unit's needs are of more national im-

   portance than the status quo established by the Executive Branch-incumbent-President,

   which does not discriminate against the Executive Branch-former-President-Plaintiff, and


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   made publicly available through the United States Department of State-Office of the Chief

   of Protocol (whether the Executive Branch-incumbent-Attorney-General is a state actor or

   a governmental actor is irrelevant due to the order of precedence and the Executive

   Branch-incumbent-President's establishment of the national security agenda; nonethe-

   less, these distinctions cannot be muted), Egan, 484 U.S. at 527; see also, e.g., Murphy, 769

   Fed. Appx. at 792 ("The authority to protect national security information falls on the

   President [directly] ."), & Dkt. 69 at 13, Poindexter, 114 U.S. at 290 5; and,

           WHEREAS,      the President is an agent, in the terms of the Presidential Records Act

   and Federalist 78; and,

           WHEREAS, aforesaid Protocol, furthering the Privileges and Immunities Clause, aids


   in deciphering between "the Rule of Law " and "who is trying to get the ir own way?, "

   which is tyranny, https://www.state.gov/ wp-content/ uploads/2022/02/United-States-Or-

   der-of-Precedence-February-2022.pdf,_U.S. const. art. IV, § 2, & Federalist 80; and,

           WHEREAS,      the courts must protect the President from aggression from unknown

   sources within Executive Branch, which concurrently politically answer to varying inter-

   ests, Dkt. 69 at 18 quoting Egan, 484 U.S. at 529; and,



          5. Poindexter, 114 U.S. at 290 ("In common speech and common apprehension they are usually
   regarded as identical; and as ordinarily the acts of the government are the acts of the State, because within
   the limits of its delegation of power, the government of the State is generally confounded with the State
   itself, and often the former is meant when the latter is mentioned. The State itself is an ideal person ,
   intangible, invisible, immutable. The government is an agent, and, within the sphere of the agency, a
   perfect representative; but outside of that, it is a lawless usurpation . The Constitution of the State is the
   limit of the authority of its government, and both government and State are subject to the supremacy of
   the Constitution of the United States, and of the laws made in pursuance thereof ... This distinction is es-
   sential to the idea of constitutional government. To deny it or blot it out obliterates the line of demarcation
   that separates constitutional government from absolutism, free self-government based on the sovereignty
   of the people from that despotism , whether of the one or the many, which enables the agent of the State
   to declare and decree that he is the State; to say "L 'ttat c'est moi." ") .



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          WHEREAS,    the courts must be sensitive to the inter-workings and inter-politics of

   the executive branch;

          WHEREAS,    hypothetically, Executive Branch-incumbent-Attorney-General-DOJ-

   and-FBI could have been denied access to Presidential Records of Executive Branch-for-

   mer-President-Trump by Executive Branch-incumbent-President-Biden; and,

          WHEREAS,    therefore, the current happenings in the case-at-hand are appeasement

   to vital parts of the Government and possible political parties and factions the President

   must appease, PHH Corp., 839 F.3d at 1 & 12-13 (As the Supreme Court has explained,

   our Constitution "was adopted to enable the people to govern themselves, through their

   elected leaders," and the Constitution "requires that a President chosen by the entire Na-

   tion oversee the execution of the laws.") (quoting Free Enterprise Fund v. Pub. Co. Acct.

   Oversight Bd., 561 U.S. 477,499 (2010)); Hollingsworth, 133 S. Ct. at 2667 ("They are free

   to pursue a purely ideological commitment to the law's constitutionality without the need


   to take cognizance of resource constraints, changes in public opinion [including polls


   factorin g the opinions of social outcasts, U.S. const . art. IV, § 2 & amend . XIV, § 1, cl. 2],


   or potential ramifications for other state priorities[,]" [appropriation through genomics]);

   United States v. Arthrex, Inc., No. 19-1434 * 23,594 U.S. __ (2021) (Roberts, C.J., The Con-

   stitutional hierarchy requires "the exercise of executive power [to remain] accountable to

   the people."); & Dkt. 69 at 18 quoting Egan, 484 U.S. at 527 (unauthorized persons); and,

          WHEREAS,    there is rule of law, the Courts must protect the Executive Branch-in-

   cumbent-President and the Executive Branch-former-President from aggressions; and,




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           WHEREAS, the current acts are aggressions against the United States, found in some

  Western Hemisphere's- and Sister Common Law jurisdictions' - governmental fashion for

   coups de tat.

           THEREFORE,     the Court should enter judgement in favor of Plaintiff, who is immune

   from prosecution by the Defendant-Mr. Gonzalez.

           WHEREAS, in addition to Dkts. 21, 36, and 60, the Political Question Doctrine, under

   Baker v. Carr, 369 U.S. 186, 217 (1962) (a textually demonstrable constitutional commit-

   ment of the issue to a coordinate political department); and,

           WHEREAS, pursuant to the Political Question Doctrine the issue is reserved for the

   Presidency directly, for the interest of maintaining Presidential Autonomy (i.e. in an ear-

   lier draft of the Declaration of Independence of 1776, Thomas Jefferson addressed the

   Grievances against the Parliament, which he thought caused the denial of the Olive

   Branch Treaty; but, The King was still giving power to Parliament), compare Original Draft

   ("we utterly dissolve all political connection which may heretofore have subsisted be-

   tween us and the people or parliament of Great Britain: and finally we do assert and

   declare these colonies to be free and independent states, and that as free and independent

   states, they have full power to levy war, conclude peace, contract alliances, establish com-

   merce, and to do all other acts and things which independent states may of right do.")

   with Final Draft; 6 and,

           WHEREAS, Robert Yates, who refused to sign the United States Constitution

   thought that the judiciary would be able "to mould" the role of the presidency; 7 and,



           6. https: / / teachingamericanhistory.org / document I rough-draft-of-the-declaration-of-independ-

            7. https: / / www.heritage.org / courts / report / against-judicial-supremacy-the-founders-and-the-
   limits-the-courts ("Every body of men invested with office," Yates observed, "are tenacious of power."
   Moreover, this love of power would "influence" judges "to extend their power, and increase their rights,"
   with the result that the courts will tend to "give such a meaning to the Constitution in all cases where it can


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           WHEREAS,       "[h]uman experience teaches that those who expect public dissemina-

  tion of their remarks may well temper candor with a concern for appearances and for

  their own interests to the detriment of the decisionmaking process ... [a] President and

  those who assist him must be free to explore alternatives in the process of shaping policies

  and making decisions and to do so in a way that many would be unwilling to express

  except privately," Nixon, 418 U.S. at 705 & 708; and,

            WHEREAS,      "[i]n designing the structure of our Government and dividing and allo-

  cating the sovereign power among three co-equal branches, the Framers of the Constitu-

  tion sought to provide a comprehensive system, but the separate powers were not intended

   to operate with absolute independence," Nixon, 433 U.S. at 442-3 (quoting Youngstown Sheet

   & Tube Co. v. Sawyer, 343 U.S. 579 (1952)); and,

            WHEREAS,      the Attorney General might be appropriate if Congress' interests were

  violated with the Presidential Records Act, but cf Id., 2 U.S.C. §§ 192 & 271-288n, & An-

  derson v. Dunn, 19 U.S. 204 (1821) (only when Congress' interests are violated, the Segre-

   ant-at-Arms does the enforcement; see generally Title 2 of the United States Code); and,

            WHEREAS, "[t]he essence of democracy is that the right to make law rests in the


   people and flows to the government, not the other way around[,]" Hollingsworth, 133 S.

   Ct. at 2675; and,




   possibly be done, as will enlarge the sphere of their authority." .. .The end result of all this would be a
   Supreme Court with power to rule the country in the most important matters according to its own will-
   to not only exceed its authority but to u surp others' authority. "This power," Yates said, "will enable" the
   justices of the Supreme Court "to mould the government into almost any shape they please." ... Yates further con-
   tended that the Supreme Court would not only be supreme over all other courts, but that it would, in fact,
   be the supreme power in the government to be created b y the Constitution. This supremacy, Yates con-
   tended, would follow from the Court's power of settling for all other political actors the authoritative meaning of the
   Constitution. The Supreme Court, he observed, "has the power, in the last resort, to determine all questions
   that may arise in the course of legal discu ssion, on the meaning and construction of the Constitution.").


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           WHEREAS, the incumbent President of the United States is the "next friend" of the


   "the real party in interest," the unique Sovereign, of all the natural persons, each a sov-

   ereign, of the United States, Hollingsworth, 133 S. Ct. at 2665 & 2674.

           THEREFORE,   the Court should enter judgement, under Fed. R. Civ. P. 12(b)(2) or

   (b)(6), in favor of Plaintiff, who is immune from prosecution by the Defendant-Mr. Gon-

   zalez, and advise that prosecution is most proper from the incumbent President himself

   or his honor's counselor, i.e. Counselor to the President (Mr. Steve Ricchetti, J.D.), but not

   the Attorney General (The Hon. Merrick Garland, J.D.). But cf White House General

   Counselor (Mr. Stuart F. Delery, J.D.). In re Lindsey, 158 F.3d at 1280-2 (White House

   General Counsel under the command of the incumbent President v. DOJ). Hollingsworth,

   133 S. Ct. at 2665 & 2673 (referring to Providence Journal Co., 485 U.S. at 700). Feder-

   alist 78. Maine Cmty. Health Options, 140 S. Ct. at 1334 (Alito, J., dissenting) (Head of

   Washington, D .C. should direct its nat'I State and Government, an ordinary federal com-


   mon law matter) . All documents should be returned to Plaintiff.

           IN THE ALTERNATIVE,   the court may dismiss under Fed. R. Civ. P. 12(b)(7).

           IN THE ALTERNATIVE,   since the Defendant's acts are unconstitutional and cannot

  be ratified to become constitutional, as Defendant omitted the incumbent President-Head

   of State and -Head of Government against the incumbent President's own Order for Pro-

   tocol, the court may dismiss and rule in favor of Plaintiff for the Defendant's unclean

  hands.

           IN THE ALTERNATIVE,   the court may issue an Order to Show Cause to the Defend-

   ant for law enforcement jurisdiction.



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             AT ALL COSTS, this Court should avoid creating a slippery slope so that the incum-

  bent President will be subject to arrest by the incumbent Attorney General, who, but,

   serves at the honor's pleasure, or create an unconstitutional autonomy of executive de-

   partments, which will not be accountable to the People, - or, sometimes, to their varying

   interests - the epitome of executive tyranny.

             "[A] pro se [motion], however inartfully pleaded, must be held to less stringent

   standards than formal pleadings drafted by lawyers." Erickson v. Pardus, 551 U.S. 89, 94

   (2007).

             I use my Constitutional Privileges, honors, and rights of knowing from my under-

   graduate and law school, juris doctor candidacy, educations, and political offices and

   from reading law outside of formal schooling for the writing and discussions, arguments,

   and motions of these filings, see Dkt. 21 at 5 & 20 and supra, p. 20 (signature line). Hof-

   lingsworth, 133 S. Ct. at 2667 & 2670-71 ("unique legal status").

             I move for leave to file this third amended Dkt. 87 .

             I move to reinstate my Motion to Continue Without Pre-Paying Filing Fees at Dkt.

   22, to avoid default and interest charges on other monetary commitments.



                                  Respectfully submitted,



                                  /s/ Raj K. Patel
                                  T.E., T.E. Raj K. Patel (prose)
                                  6850 East 21st Street
                                  Indianapolis, IN 46219
                                  Marion County
                                  317-450-6651 (cell)
                                  rajp2010@gmail.com
                                  www.rajpatel.live



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                          J.D. Candidate, Notre Dame L. Sch. 2015-2017
                          President/Student Body President, Student Gov't Ass'n of
                              Emory U., Inc. 2013-2014 (corp. sovereign 2013-present)
                          Student Body President, Brownsburg Cmty. Sch.
                              Corp. /President, Brownsburg High Sch. Student Gov't
                              2009-2010 (corp. sovereign 2009-present)
                          Rep. from the Notre Dame L. Sch. Student B. Ass'n to the
                              Ind. St. B. Ass'n 2017
                          Deputy Regional Director, Young Democrats of Am.-High
                              Sch. Caucus 2008-2009
                          Co-Founder & Vice Chair, Ind. High Sch. Democrats 2009-
                              2010
                          Vice President of Fin. (Indep.), Oxford C. Republicans of
                              Emory U., Inc. 2011-2012




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                                CERTIFICATE OF SERVICE

  I certify that I served a copy of the foregoing Raj K. Patel's (Pro Se) Fourth Amended Dkt.
  87 on 10/26/2022 to below individuals via the e-mail:

  James M. Trusty
  IFRAH, PLLC                                       Juan Antonio Gonzalez
  1717 Pennsylvania Ave, NW, Suite 650              UNITED STATES ATTORNEY
  Washington, DC 20006                              99 NE 4th Street, 8th Floor
  202-852-5669                                      Miami, Fl 33132
  Email: jtrusty@ifr ahla w. com                    Telephone: (305) 961-9001
                                                    Email: juan .antonio. gonzalez@usdoj.gov
  Lindsey Halligan
  511 SE 5th Avenue                                 Jay I. Bratt, Chief
  Fort Lauderdale, Florida 33301                    Counterintelligence & Export Control
  720-435-2870                                      Section Nat'l Security Div.
  Email: lindseyhalligan@outlook.com                950 Pennsylvania Avenue, NW
                                                    Washington, D.C. 20530
  Christopher Michael Kise                          (202) 233-0986
  Chris Kise & Associates, P.A.                     jay.bratt2@usdoj.gov
  201 East Park Ave. Ste, 5th Floor
  Tallahassee, FL 32301                             President Joe Biden
  (850) 270-0566                                    c / o Marina M. Kozmycz, Associate Gen.
  chris@ckise.net                                          Counsel
                                                    The E.O.P. at the White House
  M. Evan Corcoran                                  1600 Pennsylvania Avenue NW
  Silverman, Thompson, Slutkin, & White,            Washington, D.C. 20500
  LLC                                               Phone: 202-457-1414
  400 East Pratt Street, Suite 900                  [REDACTED]
  Baltimore, MD 21230
  410-385-2225
  ecorcoran@sil vermanthom pson .com


   Dated: October 26, 2022

                                      Respectfully submitted,




                                      / s/ Raj Patel
                                      T.E., T.E. Raj K. Patel (Pro Se)
                                      6850 East 21st Street
                                      Indianapolis, IN 46219
                                      Marion County
                                      317-450-6651 (cell)
                                      rajp2010@gmail.com
                                      www.rajpatel.li ve


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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION


    DONALD J. TRUMP,

                                         Plaintiff No. 9:22-cv-81294-AMC

             V.
                                                       Dated: October 26, 2022
    UNITED STATES OF AMERICA,

                                                       JURY TRIAL DEMANDED
                                       Defendant


                    MOVANT-INTERVENOR (PRO SE)-RAJ K. PATEL'S
                           FOURTH AMENDED DKT. 87

          I, T.E., T.E RAJK. PATEL, the undersigned movant-intervenor pro se, in the above-

   named case, with a pending motion at Dkt. 36, hereby submit this              amended reply

   to Defendant-United States of America's Response at Dkt. 48, which is written to be an

   addition to Dkt. 60 (duplicate filing at Dkt. 61), or as my response to Defendant's Motion

   at Dkt. 69. L.R. 7.l(c)(2) (10 pages, front and back). Amendments. Second Amendments.

    hird Amendments.

          WHEREAS, "Attorney General Brewster explained more than a century ago, ' [t]here

   are two kinds of official terms' ... One kind of 'term' refers to a period of personal service.

   In that case, 'the term is appurtenant to the person' ... Another kind of 'term' refers to

   a fixed slot of time to which individual appointees are assigned ... There, ' the person is ap-

   purtenant to the term' .. .ln other words, a 'term of office' can either run with the person

   or with the calendar," United States v. Wilson, 290 F.3d 347, 353 (D.C. Cir. 2002) (quoting




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   Comm 'rs of the Dist. of Columbia, 17 Op. Att'y Gen. 476, 476-79 (1882)); Hollingsworth v.

   Perry_, 570 U.S. 693, 723, 133 S. Ct. 2652, 2672 (2013), and,

          WHEREAS,    the Presidential Records Act, 44 U.S.C. §§ 2201-2209, makes the former

   President a part of the Executive Branch, and more specifically the Presidency, Wilson,

   290 F.3d at 353 & Federalist 78; and,

          WHEREAS,    executive privilege "safeguards the public interest in candid, confiden-

   tial deliberations within the Executive Branch; it is 'fundamental to the operation of Gov-

   ernment,"' Trump v. Mazars U.S., LLP, 140 S. Ct. 2019, 2032 (U.S. 2020); and,

          WHEREAS,    all Presidential data " [is] presumptively privileged," Nixon v. Sirica, 487

   F.2d 700, 716 (D.C. Cir. 1973); and,

          WHEREAS,    "information subject to executive privilege deserves 'the greatest pro-

   tection consistent with the fair administration of justice,"' Mazars, 140 S. Ct. at 2024 (quot-

   ing United States v. Nixon, 418 U.S. 683, 715 (1974)); and,

          WHEREAS,    " [t]he high respect that is owed to the office of the Chief Executive .. .is

   a matter that should inform the conduct of the entire proceeding," Clinton v. Jones, 520

   U.S. 681, 705, 117 S.Ct. 1636, 1650-51 (1997), and that there is a tradition of federal courts'

   affording "the utmost deference to Presidential responsibilities Clinton, 117 S. Ct. at

   1652," In re Lindsey, 158 F.3d 1263, 1280 (D.C. Cir. 1998) (quoting Nixon, 418 U.S. at 710-

   11) (internal quotation marks omitted)); and,

          WHEREAS,    "[t]he authority to protect national security information falls on the

   President," Dep 't of the Navy v. Egan, 484 U.S. 518,527 (1988), see also, e.g., Murphy v. Sec'y,

   U.S. Dep 't of Army, 769 Fed. Appx. 779, 792 (11th Cir. 2019), & Dkt. 69 at 13; and,




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          WHEREAS, for purposes of Presidential Records Act, the incumbent President w h o

   transitions to former Presiden is an "agent" of the people, Egan, 484 U.S. at 529, Feder-

   alist 78, & Dkt. 69 at 18; and,

          WHEREAS, the Supreme Cou rt has emph asized th at privilege claims, "must be con-

   sidered in light of our historic commitment to the rule of law" and " [t]he need to develop

   all relevant facts in the adversary system," Nixon, 418 U.S. at 708-09 & Dkt. 69 at 9; and,

           WHEREAS, " [i]n the performance of assigned constitutional duties, [Executive

   branch] of the Government mu st initially interpret the Constitution, and ... The Presi-

   dent's counsel, as we h ave noted, reads the Constitution as providing an absolute privi-

   lege of confidentiality for all Presidential communications," Nixon, 418 U.S. at 703-4, 28

   U.S.C. § 516, Vargas v. United States, 114 Fed.Cl. 226, 236 (2014) ("The government's

   eliance on 28 U.S.C. § 516 is mis laced."); & see generally David A. Strauss, "Presidential

   Interpretation of the Constitution," 15 Cardozo L. Rev. 113, 113-135 (1993 )1; and,

           WHEREAS, in other words, "executive branch mu st interpret the Constitution be-

   fore it can decide what to do," see generally Strauss, 15 Cardozo L. Rev. at 113-135; and,

           WHEREAS, the Supreme Court has "reject[ed] the argument that only an incumbent

   President may assert" separation-of-powers claims, Nixon v. Adm'r of Gen. Servs., 433 U.S.

   425, 439 (1977); and,

           WHEREAS, there is an internal, horizontal and vertical, separation of powers on in-


   terpreting the Constitution within the Executive Branch; and,




          1. David A. Strauss, "Presidential Interpretation of the Constitution," 15 Cardozo L. Rev. 113, 113-
   135 (1993), https: // chicagounbound .uchicago.edu / cgi / vievvcontent.cgi?referer=&httpsredir=l&arti-
   cle=3006&context=journal articles;Presidential .


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          WHEREAS,   privilege and immunities may be used to sustain separation of powers

   inside branch es of government and across governments under the United States Consti-

   tution; and,

          WHEREAS,   the United States Department of State is responsible for interpreting and

   elaborating on the Privileges and Immunities Clause, U.S. const. art. IV, § 2;

          WHEREAS,   the United States Department of State shows its elaboration on the Priv-

   ileges and Immunities Clause in the United States Order of Precedence by the Office of

   the Chief of Protocol, https://www.state.gov/wp-content/uploads/2022/02/United-

   States-Order-of-Precedence-February-2022.pdf (revised Feb. 11, 2022) & U.S. const. art.

   IV,§ 2; and,

          WHEREAS,   the United States Department of Justice, the Attorney General, or U.S.

   Attorney Juan Gonzales, did not follow the United States Order of Precedence duly es-

   tablished by the Office of the Chief of Protocol, Id.; and,

          WHEREAS,   the incumbent President of the United States h as supported the United

   States Order of Precedence housed by the United States Department of State Office of the

   Chief of Protocol, which sh ows that former President Trump outranks incumbent Attor-

   ney General Merrick Garland, Id. & 3 U.S.C. §§ 301 et seq., and Hollingsworth, 133 S. Ct.

   at 2673-74 ( ro onents "are not elected" and "decide for themselves, with no review,

   what arguments to make and how to make them" in defense of the enacted initiative, ...

   hose same charges could be leveled with e ual if not reater force at the seecial pros-

   ecutors ·ust discussed"); and,




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            WHEREAS,     thus, the United States Department of State and the United States De-

   partment of Justice are adversaries in our system of rule of law, in order to create a sepa-

   ration of powers and ch ecks and balance, but cf Doctrine of Comity, U.S. const. art. IV,§

   2, & 28 U.S.C. § 516; an d,

            WHEREAS,    the incumbent President of the United States has not cleared, nor may

   ratify unconstitutional acts to make them constitutional,2 breach of protocol; and,

            WHEREAS,    the executive Departments and its Heads have been created, by an Act

   of Congress, and appointed by the President, with advice and consent from the Senate,

   Freytag v. Comm'r, 501 U.S. 868, 886, 917 (1991) (discussing Heads and principal officers

   of the executive departments); and,

            WHEREAS,    the Executive Branch's "interpretation of its [own] powers .. .is due great

   respect from the others," Nixon, 418 U.S. at 703-4; and,

            WHEREAS, former Presidents retain "actual authori~" to bind the Government oii


   the United States to contractual obligations necessa!Y to car!Y out the duties of thei n




    ucker Act, 28 U.S.C. §§ 1346(a) &1491, Schism v. United States, 316 F.3d 1259, 1304-




             2. Under the common law, the incumbent King may change protocol at-will against a former Head
   of State or a preceding Monarch; those vested powers are embedded in the United States Constitution and
   remain constant until lawfully amended. Besides, as the complaint and Attorney General's Merrick Gar-
   land's public, apolitical, and legal comments show, currently, only a unit of an Executive branch h as acted,
   i.e. the Department of Justice-F.B.I., rather than the Executive branch as whole. Dkt. 1 at 10. To no surprise,
   even against a former president, in order to legally condition the peaceful transition of power, the Executive
   power is much weaker than of a common law King' s. United States v. Providence Journal Co., 485 U.S. 693,
   701 (1988) (more than one "United States" is "startling" ).       aine Cmty. Health Options v. United States,
   ~ 40 S. Ct. 1308, 1334 (Alita, J., dissenting) (internal citations omitted) ("federal common law" has uni
   interests).


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    nd,

          WHEREAS,   "[all] powers of law enforcement ... are assigned under our Constitution

   to the Executive and the Judiciary," Quinn v. United States, 349 U.S. 155, 161 (1955).

          THEREFORE,   only a unit of the Executive Branch, the current Attorney General, has

   brought charges against former President Trump in violation of the inter-workings of the

   executive branch protocol, ordered by the incumbent President Biden, as housed by Pres-

   ident Biden's subordinates, who are also either the Attorney General's superiors or co-

   equals on the subject-matter, in the United States Department of State.

          FURTHERMORE,     the President, the courts, or the Executive Branch cannot mute dis-

   tinctions of office, person, state, and government, as they are an elaboration of the United

   States Constitution Privileges and Immunities Clause, which lays out the structure and

   lanes of enforcement.   oindexter v. Greenhow, 114 U.S. 270, 290 (1884) ("the distinction

    etween the government of a State and the State itself is imeortant, and [shall] be ob-

    erved. ") (underline added).




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          WHEREAS,    in order for a federal district court of law to have personal jurisdiction,

   under Fed. R. Civ. 12(b)(2), traditional notions of "natural justice," "fair play," and "sub-

   stantial justice" must at all time not be violated, McDonald v. Mabee, 243 U.S. 90, 92 (1917),

   Joint Anti-Fascist Comm. v. McGrath, 341 U.S. 123, 123 (1951), Breithaupt v. Abram, 352 U.S.

   432,435 (1957) (shock the conscience, traditional notions of fair play and decency, indicia

   of not a peaceful transition of power caused by Defendant-DOJ is a violation of the con-

   science), Gonzales v. United States, 348 U.S. 407, 412 (1955) ("underlying concepts of pro-

   cedural regularity and basic fair play"), Int'l Shoe Co. v. Washington, 326 U.S. 310, 324 &

   326 (1945), United States v. Lovasco, 431 U.S. 783, 796 (1977) (due process embodies "fun-

   damental conceptions of justice" and "the community's sense of fair play and decency")

   (see Federalist 77, United States as a community), Cnty. of Sacramento v. Lewis, 523 U.S.

   833, 847 (1998) (conscience-shocking behavior is "so 'brutal' and 'offensive' that it [does]

   not comport with traditional ideas of fair play and decency.") (abuse of executive power)

   (decencies of "civilized conduct," epitomized in U.S. const. art. IV, § 2) (bowing and

   curtsy amongst and to state actors or the effect in our community), & Sessions v. Dimaya,

   138 S. Ct. 1204, 1212 (2018) (required by both "ordinary notions of fair play and the settled

   rules of law."); and,

          WHEREAS,    traditional notions of natural justice states a former T.H. (T.E.) President

   of the United States (T.E. President of the United States for all documents foreign affairs),

   from the Natural State, is more fit than the current court (judge and Defendant) and the

   Natural Order demands that the incumbent Attorney General yield to pressing charges

   against Plaintiff, our former Head of State, see United States Order of Precedence-United

   States Dep't of State-Office of the Chief of Protocol, U.S. const. art. IV,§ 2, & Dkt. 60 at 2,

   5, 5 n. 3, & 7; and,




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          WHEREAS, traditional notions of basic fair play and substantial justice have been

   violated, see e.g. Obergefell v. Hodges, 576 U.S. 644, 742 (2015) (harsh treatment is not fair

   play) (gays and lesbians have been denied the Natural Order, pursuant to their achieve-

   ments in civil society, as the wealthiest community, particularly, gay men, in the United

   States; the same illness has entered state and governmental institutions, preventing the

   Natural Order, including in governing the Defendant's decisions) (Plaintiff has been de-

   nied rightful place in the aftermath of his honor's incumbency as President of United

   States) 3 & Pet. for Writ of Cert. * 58-9, Patel v. United States, No. 22-5280 (U.S. 202_); and,

          WHEREAS, even with explicit informed consent the Plaintiff cannot avail himself

   before this court because his availment cannot overcome the violation traditional notions

   of fair play, natural justice, and substantial justice as applied to the court and any possible

   ruling by this court, U.S. const. art. IV,§ 2 & see also United States Order of Precedence-

   United States Dep' t of State-Office of the Chief of Protocol; and,

          WHEREAS, this court cannot attach personal jurisdiction to the Plaintiff as it would

   violate the traditional notions of fair play, natural justice, and substantial justice, and,

   thus, its opinion would only be advisory; and,

          WHEREAS, in addition, the corollary to Plaintiff's former Presidential privilege, im-

   munity, is the court's limited judicial review, Federalist 78, U.S. const. art. IV,§ 2, art. III

   (original intent), & amend. V. Marbury v. Madison, 5 U.S. 137 (1803).

          THEREFORE,    this Court should dismiss sua sponte under Fed. R. Civ. P. 12(b )(2), as

   the Court does not have personal jurisdiction for Plaintiff, or Fed. R. Civ. P. 12(b)(6), for

   failure to state a claim upon which relief can be granted, as there is no enforcement mech-

   anism to require the Plaintiff, the former Head of State and former President, who is also



          3. https: / / hrc-prod-requests.s3-us-west-2.amazonaws.com / Wage-Cap-Appendix.pdf.


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   Privileged, per the Natural State, and is Immune, per the Natural State too; the deficien-

   cies can only be cu red by new ch arges brought directly by the incumbent President, by

   his own counselor, rather than the incumbent Attorney General.

          FURTHERMORE,      the notions of natural justice, fair play, and substantial justice but-

   tress castle doctrine, as generally applied, and Plaintiff's castle can uniquely, along with

   the past Presidents, can withstand all forces except those directly and constitutionally

   commanded by the incumbent President, e.g. United States Secret Service or United States

   Armed and Space Force. See Dkt. 60 at 2, 5, 5 n. 3, & 7. This is also because due process

   cannot override a Privilege or Immunity, and substantive due process is considerate of

   Privileges and Immunities, per the Federalist and Anti-Federalist contract of the Bill of

   Rights, and the interest of the Founders and Amenders to preserve the culture of our

   Nation. U.S. const. art. IV, § 2 & amend. XIV, § 2, cl. 1; Lovasco, 431 U.S. at 796; Feder-

   alist 80 ("It may be esteemed the basis of the Union , that "the citizens of each State shall

   be entitled to all the privileges and immunities of citizens of the several States." And ifi

   it be a just principle that every government OUGHT TO POSSESS THE MEANS OF EX-

   ECUTING ITS OWN PROVISIONS BY ITS OWN AUTHORITY."); Pet. for Writ of Cert.*

   58-9, Patel v. United States, No. 22-5280 (U.S. 202_J; & compare U.S. const. art. IV, §§

   1-27 with U.S. con st. art. VI, § 1 referring to Articles of Confederation (1781 ), art. IV, paras.

   1 & 3 ("The better to secure and perpetuate mutual friendship and intercourse among

   the people of the different States in this Union [i .e., Doctrine of Comity in U.S. const. art.

   IV, § 2], the free inhabitants of each of these States, paupers, vagabonds, and fugitives




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   from justice excepted, shall be entitled to all privileges and immunities of free citizens in


   the several States; ... provided also that no imposition, duties or restriction shall be laid

   by any State, on the property of the United States, or either of them." II "Full faith and

   credit shall be given in each of these States to the records, acts, and judicial proceedings

   of the courts and magistrates of every other State.") (("magistrates" replaced with "citi-

   zen") (see 0kt. 21 at 13) (see also Patel v. United States, No. 1 :21-cv-02004-LAS (Fed.

   Cl. 202_J, 0kt. 1 at 9-10 n. 6)).

           UNDER FED. R. CIV. P. 24,      I have a common question of law or fact or interest in the

   transaction because a favorable ruling to the Defendant can violate my Excellencies, the

   style/ titles, and my career and statesmanship by extension of this ruling amongst li-

   censed Governmental actors, local, state, federal, and international, wh o might sympa-

   thize with this ourt's unconstitutionali~.

           WHEREAS,     the Supreme Court has held that a former President may not success-

   fully assert executive privilege against review by "the very Executive Branch in whose

   name the privilege is invoked," Nixon, 433 U.S. at 447-48 & Dkt 69 at 8; 4 and,

           WHEREAS,     executive Privilege and executive Immunity are corollaries, but distinct

   concepts, U.S. const. art. IV,§ 2 & amend. XIV,§ 1, cl. 2; and,

           WHEREAS,     asserting one necessarily imputes the assertion of the other, Id.; and,




           4. An F.B.I. cannot claim executive Privilege against the incumbent Attorney General, but a former
   President can claim executive Privilege (i.e. Presidential Privilege) against the incumbent Attorney General.
   Respectively, the independent concept of executive Immunity applies, which favors the former President
   against the incumbent Attorney General.


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          WHEREAS,   former United States President Trump may assert executive Immunity

   from United States Governmental force which is not under the command of the incum-

   bent United States President, Id.; and,

          WHEREAS,   in the happenings related to Nixon, 433 U.S. at 425, incumbent President

   Gerald Ford was intimately involved in prosecuting former President Nixon, Id. & cf Dkt.

   1 at 10; and,

          WHEREAS,   here, as unlike in the happenings related to Nixon, 433 U.S. at 425, the

   incumbent President is not intimately involved against the prosecution of President

   Biden, PHH Corp. v. Consumer Financial Protection Bureau, 839 F.3d 1, 12-13 (D.C. Cir. 2016)

   (Madisonian presidential control), see Morgan v. United States, 304 U.S. 1, 22 (1938) (hold-

   ing that it is "not the function of the court to probe the mental processes of the [Execu-

   tive]"), and Dkt. 1 at 10; and,

          WHEREAS,    here, the topics of documents are related to foreign policy, unlike in

   Nixon, 433 U.S. at 425, where, the documents were related to domestic policy; and,

          WHEREAS,   more specifically and materially, a former President/Head of State out-

   ranks the incumbent Attorney General in foreign relations and diplomatic matter, which

   are exclusively reserved for the President's recognition, see generally Providence Journal,

   485 U.S. at 701 (more than one "United States" is "startling"); and,

          WHEREAS,    the incumbent President, the United States Order of Precedence duly

   established by the Office of the Chief of Protocol, and the Presidential Records Act show

   that the former presidents carry on official duties, which come with omnipresent privi-

   leges and immunities, which are absolute except at against an incumbent President,

   Nixon, 418 U.S. at 703-4 & Scheuer v. Rhodes, 416 U.S. 232,239,241,244, & 248, (1974); and,




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          WHEREAS, the Constitutional power of executive Privilege and/ or executive Im-

   munity of a former President, thus, may be lawfully asserted against the incumbent De-

   partment of Justice, U.S. const. art. IV, § 2 & amend. XIV, § 1, cl. 2, Murray v. Bush, No.

   06-C-0781 * 1 (E.D. Wis. Aug. 31, 2006) ("whether the action is frivolous or malicious, or

   seeks relieffrom an immune party, or fails to state a claim on which relief may be granted.")

   (italics added) (internal citations omitted); cf 28 U.S.C. § 1915(e)(2)(B)(iii); Williams v.

   Holmes, No. l:17-cv-00799-KOB * 1 (N.D. Ala. Sep. 5, 2017); Malcolm v. City of Miami, No.

   22-cv-20499-KING/DAMIAN * 2, 4, & 6 (S.D. Fla. Mar. 7, 2022); & Lister v. Dep't of Treas-

   ury, 408 F.3d 1309 (10th Cir. 2005); and,

          WHEREAS, the Plaintiff can lawfully possess the disputed United States records, 44

   U.S. C. § 2202; and,

          WHEREAS, the Fed. R. Civ. P. 8(c)(l) allow for the affirmative defenses of illegality

   (Defendant's play in obtaining Presidential Records), license (U.S. const. art. IV, § 2),

   laches (Defendant should have acted quicker if truly suspicious of national security), or

   unclean hands (Defendant should have involved the incumbent President of the United

   States); and,

          WHEREAS, this Court is in Comity with both Plaintiff and Defendant, and has the

   privilege of serving each party in his/her/ their individual capacity, Doctrine of Comity,

   U.S. const. art. IV, § 2.

          THEREFORE,      the Plaintiff is immune from prosecution from the Defendant, and the

   Court should return all records to plaintiff, President Trump, and order charges against

   The Honorable Garland for conversion, "treason"/ "war"/" attack," and rebellion or in-

   surrection. U.S. const. art. III, § 3; 18 U.S.C. § 2381; & Providence Journal, 485 U.S. at 701.

          FURTHERMORE,         under the Constitutional fiction, which starts, at a minimum, with

   the corporate charters mentioned in the Declaration of Independence (1776), the local,


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   excellent corporations and other local authorities have devolved power to the Federal

   Sovereign, much more than the Sister States have to the Federal Sovereign; thus, the in-

   terest in the transaction is a check on the Devolved Sovereignty, Faithfully ordered by

   me, the intervenor, and as a taxpayer. U.S. const. art. IV,§§ 1-2 & art. VI,§ 1; Federalist

   78; & 42 U.S.C. §§ 2000bb et seq. See also White House Office of Intergovernmental Affairs,

   https: / / www.whitehouse.gov/ iga / .

          WHEREAS, barring subordinate Executive Branch from reviewing and using the

   classified records for criminal investigates purposes is a meaningful way of protecting

   "the confidentiality of Presidential communications," Nixon, 418 U.S. at 705 & contra. Dkt.

   69 at 10; and,

          WHEREAS, the reasons Presidents or the courts allow independent personnel across

   the Intelligence Community to review the very same records for other closely related

   purposes but not the remainder of the Executive Branch do not have to be revealed in

   order to protect the confidentiality of Presidential Records, Nixon, 418 U.S. at 705; and,

          WHEREAS, technocrats are the personnel across the Intelligence Community who

   usually receive these records and whose narrow objectives are precisely codified, unlike

   in the not-independent Executive Branch were partisans, party members, former mem-

   bers of Congress, and bureaucrats who are accountable to varying interests, such as for-

   eign Heads of State and inter-governmental organizations and those hierarchies, are

   likely to receive and be exposed these records; and,

          WHEREAS, an affirmance of the default protectionist rule of Presidential Records

   will allow the Republic to remain One and intact, Nixon, 418 U.S. at 705, Providence Journal,

   485 U.S. at 701, Nixon, 433 U.S. at 447-9, & Hein v. Freedom From Religion Found., Inc., 551




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   U.S. 587 (2007) (Rather, they were "created entirely within the executive branch ... by Pres-

   idential executive order." (quoting Freedom From Religion Found., Inc. v. Chao, 433 F. 3d

   989, 997 (7th Cir. 2006)); and,

          WHEREAS, the Department of Justice is not an independent agency of the Executive

   Branch; and,

          WHEREAS, here, the "trial" is of a former President, which was not initiated by the

   incumbent President; and,

          WHEREAS, the enforcement of Nixon, 418 U.S. at 705 is different due to the advance-

   ment of technology; and,

          THEREFORE,   preventing the United States Department of Justice from gaining ac-

   cess to the material Presidential Records is lawful, as well as the appointment of the spe-

   cial master, but the Presidential Records are properly returned to President Trump at the

   earliest convenience; if not, at least a copy of all records, as the Plaintiff maintains his

   presumption of correctness until proven otherwise.

          FURTHERMORE,     this transaction could extent to local governments, a set of Devolv-

   ers of Sovereignty, and interfere with local jurisdictions' record keeping practices and the

   privileges and immunities of their agents, including when those jurisdictions were de-

   marcated in another state.

          WHEREAS, Dkt. 69 at 10-11 equivocates about the Executive Branch-generally with

   the more specific terminologies of executive Privileges and/ or Immunities applied to the

   Executive Branch-incumbent-President and Executive Branch-former-President; and,

          WHEREAS, Defendant is unpersuasively arguing, that in addition to its trespass to

   a former President's castle, its Governmental unit's needs are of more national im-

   portance than the status quo established by the Executive Branch-incumbent-President,

   which does not discriminate against the Executive Branch-former-President-Plaintiff, and


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   made publicly available through the United States Department of State-Office of the Chief

   of Protocol (wheth er the Executive Branch-incumbent-Attorney-General is a state actor or

   a governmental actor is irrelevant due to the order of precedence and the Executive

   Branch-incumbent-President's establishment of the national security agenda; nonethe-

   less, these distinctions cannot be muted), Egan, 484 U.S. at 527; see also, e.g., Murphy, 769

   Fed. Appx. at 792 ("The authority to protect national security information falls on the

   President [directly]."),       Dkt. 69 at 13 Poindexter, 114 U.S. at 290 ; and,

           WHEREAS,     the President is an agent, in the terms of the Presidential Records Act

   and Federalist 78; and,




           WHEREAS,      the courts must protect the President from aggression from unknown

   sources within Executive Branch, which concurrently politically answer to varying inter-

   ests, Dkt. 69 at 18 quoting Egan, 484 U.S. at 529; and,



   __    ....5. Poindexter, 114 U.S. at 290 ("In common speech and common apprehension they are usuall
    egarded as identical; and as ordinarily the acts of the government are the acts of the State, because within
   the limits of its delegation of power, the government of the State is generally confounded with the Stat .
   ·tself, and often the former is meant when the latter is mentioned. The State itself is an ideal person,
   intangible, invisible, immutable. The government is an agent, and, within the sphere of the agency,
   perfect representative; but outside of that, it is a lawless usurpation. The Constitution of the State is the
   limit of the authority of its government, and both government and State are subject to the supremacy of
   the Constitution of the United States, and of the laws made in pursuance thereof ...This distinction is es-
   sential to the idea of constitutional government. To deny it or blot it out obliterates the line of demarcation
   that separates constitutional government from absolutism, free self-government based on the sovereignty
   of the people from that despotism, whether of the one or the many, which enables the agent of the State
   to declare and decree that he is the State; to say "L 'l:tat c'est moi." ").


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          WHEREAS,   the courts must be sensitive to the inter-workings and inter-politics of

   the executive branch;

          WHEREAS,    hypothetically, Executive Branch-incumbent-Attorney-General-DOJ-

   and-FBI could have been denied access to Presidential Records of Executive Branch-for-

   mer-President-Trump by Executive Branch-incumbent-President-Biden; and,

          WHEREAS,   therefore, the current happenings in the case-at-hand are appeasement

   to vital parts of the Government and possible political parties and factions the President

   must appease, PHH Corp., 839 F.3d at 1 & 12-13 (As the Supreme Court has explained,

   our Constitution "was adopted to enable the people to govern themselves, through their

   elected leaders," and the Constitution "requires that a President chosen by the entire Na-

   tion oversee the execution of the laws.") (quoting Free Enterprise Fund v. Pub. Co. Acct.

   Oversight Bd., 561 U.S. 477,499 (2010)); Hollingsworth, 133 S. Ct. at 2667 ("The are fre

   ito ursue a eurel ideological commitment to the law's constitutionali~ without the need

   ito take cognizance of resource constraints, changes in       ublic o inion [including    olls

   factoring the o inions of social outcasts, U.S. const. art. IV, § 2 & amend. XIV, § 1, cl. 2],

   or otential ramifications for other state ~riorities[,]" [a   ro riation throu h genomics]);

   United States v. Arthrex, Inc., No. 19-1434 * 23,594 U.S. __ (2021) (Roberts, C.J., The Con-

   stitutional hierarchy requires "the exercise of executive power [to remain] accountable to

   the people."); & Dkt. 69 at 18 quoting Egan, 484 U.S. at 527 (unauthorized persons); and,

          WHEREAS,    there is rule of law, the Courts must protect the Executive Branch-in-

   cumbent-President and the Executive Branch-former-President from aggressions; and,




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           WHEREAS, the current acts are aggressions against the United States, found in some

   Western Hemisphere's- and Sister Common Law jurisdictions' - governmental fashion for

   coups de tat.

           THEREFORE,      the Court should enter judgement in favor of Plaintiff, who is immune

   from prosecution by the Defendant-Mr. Gonzalez.

           WHEREAS, in addition to Dkts. 21, 36, and 60, the Political Question Doctrine, under

   Baker v. Carr, 369 U.S. 186, 217 (1962) (a textually demonstrable constitutional commit-

   ment of the issue to a coordinate political department); and,

           WHEREAS, pursuant to the Political Question Doctrine the issue is reserved for the

   Presidency directly, for the interest of maintaining Presidential Autonomy (i.e. in an ear-

   lier draft of the Declaration of Independence of 1776, Thomas Jefferson addressed the

   Grievances against the Parliament, which he thought caused the denial of the Olive

   Branch Treaty; but, The King was still giving power to Parliament), compare Original Draft

   ("we utterly dissolve all political connection which may heretofore have subsisted be-

   tween us and the people or parliament of Great Britain: and finally we do assert and

   declare these colonies to be free and independent states, and that as free and independent

   states, they have full power to levy war, conclude peace, contract alliances, establish com-

   merce, and to do all other acts and things which independent states may of right do.")

   with Final Draft; 6 and,

           WHEREAS, Robert Yates, who refused to sign the United States Constitution

   thought that the judiciary would be able "to mould" the role of the presidency; 7 and,



           6. https: / / teachingamericanhistory.org / document / rough-draft-of-the-declaration-of-independ-

            7. https: / / www.heritage.org / courh / report / against-judicial-supremacy-the-founders-and-the-
   limits-the-courts ("Every body of men invested with office," Yates observed, "are tenacious of power."
   Moreover, this love of power would "influence" judges "to extend their power, and increase their rights,"
   with the result that the courts w ill tend to "give such a meaning to the Constitution in all cases where it can


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            WHEREAS,      "[h]uman experience teaches that those who expect public dissemina-

   tion of their remarks may well temper candor with a concern for appearances and for

   their own interests to the detriment of the decisionmaking process ... [a] President and

   those wh o assist him must be free to explore alternatives in the process of shaping policies

   and making decisions and to d o so in a way that many would be unwilling to express

   except privately," Nixon, 418 U.S. at 705 & 708; and,

            WHEREAS,      "[i]n designing the stru cture of our Government an d dividing an d allo-

   cating the sovereign power among three co-equal branches, the Framers of the Constitu-

   tion sough t to provide a compreh ensive system, but the separate powers were not intended

   to operate with absolute independence," Nixon, 433 U.S. at 442-3 (quoting Youngstown Sheet

   & Tube Co. v. Sawyer, 343 U.S. 579 (1952)); and,

            WHEREAS,      the Attorney General might be appropriate if Congress' interests were

   violated with the Presidential Records Act, but cf Id., 2 U.S.C. §§ 192 & 271-288n, & An-

   derson v. Dunn, 19 U.S. 204 (1821) (only wh en Congress' interests are violated, the Segre-

   ant-at-Arms does the enforcement; see generally Title 2 of the United States Code); and,

            WHEREAS, "[t]he essence of democra~ is that the right to make law rests in th


          le and flows to the government, not the other way_ around[,]" Hollingsworth, 133 S.

     t. at 2675; and,




   possibly be done, as will enlarge the sphere of their authority." ... The end result of all this would be a
   Supreme Court with power to rule the country in the most important matters according to its own will-
   to not only exceed its authority but to usurp others' authority. "This power," Yates said, "will enable" the
   justices of the Supreme Court "to mould the government into almost any shape they please." ... Yates further con-
   tended that the Supreme Court would not only be supreme over all other courts, but that it would, in fact,
   be the supreme power in the government to be created by the Constitution. This supremacy, Yates con-
   tended, would follow from the Court's power of settling for all other political actors the authoritative meaning of the
   Constitution. The Supreme Court, he observed, "has the power, in the last resort, to determine all questions
   that may arise in the course of legal discussion, on the meaning and construction of the Constitution.").


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               HEREAS, the incumbent President of the United States is the "next friend" of th


   "the real    art}' in interest," the unigue Soverei n, of all the natural eersons, each a sov

   ereign, of the United States, Hollin sworth, 133 S. Ct. at 2665 & 267 4.

            THEREFORE,   the Court should enter judgement, under Fed. R. Civ. P. 12(b)(2) or

   (b)(6), in favor of Plaintiff, who is immune from prosecution by the Defendant-Mr. Gon-

   zalez, and advise that prosecution is most proper from the incumbent President himself

   or his honor's counselor, i.e. Counselor to the President (Mr. Steve Ricchetti, J.D.), but not

   the Attorney General (The Hon. Merrick Garland, J.D.). But           . White House General

   Counselor (Mr. Stuart F. Delery, J.D.). In re Lindsey, 158 F.3d at 1280-2 (White House

   General Counsel under the command of the incumbent President v. DOJ).
                                                                                 --- ----
   n33 S. Ct. at 2665 & 2673 (referrin to Providence Journal Co., 485 U.S. at 700). Feder-

   alist 78. Maine Cm~. Health Oe_tions, 140 S. Ct. at 1334 (Alito, J., dissenting) (Head of

     ashington, D.C. should direct its nat'I State and Government, an ordina!Y federal com-

     on law matter). All documents should be returned to Plaintiff.

            IN THE ALTERNATIVE,   the court may dismiss under Fed. R. Civ. P. 12(b)(7).

            IN THE ALTERNATIVE,    since the Defendant's acts are unconstitutional and cannot

   be ratified to become constitutional, as Defendant omitted the incumbent President-Head

   of State and -Head of Government against the incumbent President's own Order for Pro-

   tocol, the court may dismiss and rule in favor of Plaintiff for the Defendant's unclean

   hands.

            IN THE ALTERNATIVE,   the court may issue an Order to Show Cause to the Defend-

   ant for law enforcement jurisdiction.



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             AT ALL COSTS, this Court should avoid creating a slippery slope so that the incum-

   bent President will be subject to arrest by the incumbent Attorney General, who, but,

   serves at the honor's pleasure, or create an unconstitutional autonomy of executive de-

   partments, which will not be accountable to the People, - or, sometimes, to their varying

   interests - the epitome of executive tyranny.

             "[A] pro se [motion], however inartfully pleaded, must be held to less stringent

   standards than formal pleadings drafted by lawyers." Erickson v. Pardus, 551 U.S. 89, 94

   (2007).

             I use my Constitutional Privileges, honors, and rights of knowing from my under-

   graduate and law school, juris doctor candidacy, educations, and political offices and

   from reading law outside of formal schooling for the writing and discussions, arguments,

   and motions of these filings, see Dkt. 21 at 5 & 20 and supra, p. 20 (signature line). Ho/-

   /ingsworth, 133 S. Ct. at 2667 & 2670-71 ("unigue legal status").

              move for leave to file this third amended Diet. 87

             I move to reinstate my Motion o Continue Wi out Pre-Pa

   22, to avoid default and interest charges on other moneta~ commitments.



                                 Respectfully submitted,



                                 / s / Raj K. Patel
                                 T.E., T.E. Raj K. Patel (pro se )
                                 6850 East 21 st Street
                                 Indianapolis, IN 46219
                                 Marion County
                                 317-450-6651 (cell)
                                 rajp20l0@gmail.com
                                 www.rajpatel.li ve



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                          J.D. Candidate, Notre Dame L. Sch. 2015-2017
                          President/Student Body President, Student Gov't Ass'n of
                              Emory U., Inc. 2013-2014 (corp. sovereign 2013-present)
                          Student Body President, Brownsburg Cmty. Sch.
                              Corp./President, Brownsburg High Sch. Student Gov't
                              2009-2010 (corp. sovereign 2009-present)
                          Rep. from the Notre Dame L. Sch. Student B. Ass'n to the
                              Ind. St. B. Ass'n 2017
                          Deputy Regional Director, Young Democrats of Am.-High
                              Sch. Caucus 2008-2009
                          Co-Founder & Vice Chair, Ind. High Sch. Democrats 2009-
                              2010
                          Vice President of Fin. (Indep.), Oxford C. Republicans of
                              Emory U., Inc. 2011-2012




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                                 CERTIFICATE OF SERVICE

   I certify that I served a copy of the foregoing Raj K. Patel's (Pro Se) Fourth Amended Dkt.
   87 on 10/26/2022 to below individuals via the e-mail:

   James M. Trusty
   IFRAH, PLLC                                        Juan Antonio Gonzalez
   1717 Pennsylvania Ave, NW, Suite 650               UNITED STATES ATTORNEY
   Washington, DC 20006                               99 NE 4th Street, 8th Floor
   202-852-5669                                       Miami, Fl 33132
   Email: jtrusty@ifrahlaw.com                        Telephone: (305) 961-9001
                                                      Email: juan.antonio.gonzalez@usdoj.gov
   Lindsey Halligan
   511 SE 5th Avenue                                  Jay I. Bratt, Chief
   Fort Lauderdale, Florida 33301                     Counterintelligence & Export Control
   720-435-2870                                       Section Nat'l Security Div.
   Email: lindseyhalligan@outlook.com                 950 Pennsylvania Avenue, NW
                                                      Washington, D. C. 20530
   Christopher Michael Kise                           (202) 233-0986
   Chris Kise & Associates, P.A.                      jay.bratt2@usdoj.gov
   201 East Park Ave. Ste, 5th Floor
   Tallahassee, FL 32301                              President Joe Biden
   (850) 270-0566                                     c / o Marina M. Kozmycz, Associate Gen.
   chris@ckise.net                                           Counsel
                                                      The E.O.P. at the White House
   M. Evan Corcoran                                   1600 Pennsylvania A venue NW
   Silverman, Thompson, Slutkin, & White,             Washington, D.C. 20500
   LLC                                                Phone: 202-457-1414
   400 East Pratt Street, Suite 900                   [REDACTED]
   Baltimore, MD 21230
   410-385-2225
   ecorcoran@silvermanthompson.com


   Dated: October 26, 2022

                                       Respectfully submitted,




                                       Is I Raj Patel
                                       T.E., T.E. Raj K. Patel (Pro Se)
                                       6850 East 21st Street
                                       Indianapolis, IN 46219
                                       Marion County
                                       317-450-6651 (cell)
                                       rajp2010@gmail.com
                                       www .raj pa tel.Ii ve


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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA


    DONALD J. TRUMP,

                                      Plaintiff No. 9:22-cv-81294-AMC

             V.


    UNITED STATES OF AMERICA,


                                   Defendant


                                             ORDER
         This matter COMES NOW before the Court on Mr. Raj K. Patel's Responses,

   along with Mr. Patel's Notice under 18 U .S. C. § 2382, and the following is ORDERED:

      [ ] Mr. Patel's Motion for Intervention is GRANTED .

            [ ] The Intervention is one of right under Fed. R. Civ. P . 24(a).

            [ ] The Intervention is permissive under Fed. R. Civ. P. 24(b).

      [ ] Mr. Patel's Motion for Leave to Proceed Without Pre-paying Filings Fees is

         GRANTED .

      [ ] The complaint is DISMISSED under

            [ ] Fed. R. Civ. P . 12(b)(2).

            [ ] Fed. R. Civ. P. 12(b)(6).

            [ ] Fed. R. Civ. P. 12(b)(7).

            [ ] Unclean Hands Doctrine.

            [ ] Political Question Doctrine.

      [ ] The dismissal of the complaint is


                                               1
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             [ ] WITHOUT PREJUDICE.

             [ ] WITH PREJUDICE.

      [ ] All seized documents and other property is ORDERED to

             [ ] Remain with the court, or

             [ ] Be returned to the Plaintiff, Mr. Donald J. Trump.

      [ ] After the previous happenings, then now, Mr. Patel's intervention 1s

         DISMISSED WITHOUT PREJUDICE.



   DONE AND ORDERED in chambers at Fort Pierce, Florida, this _ _ day of

   _ _ _ _ _ _ , 2022



                                                        HON. AILEEN M. CANNON
                                                        United States District Judge



   Distribution to all attorneys and prose litigants of record.




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